
42 So.3d 754 (2010)
Ex parte R.J.G.
(In re R.J.G. v. S.S.W.).
1090290.
Supreme Court of Alabama.
January 29, 2010.
*755 Barre C. Dumas, Mobile, for petitioner.
Submitted on petitioner's brief only.
Prior report: Ala.Civ.App., 42 So.3d 747.
BOLIN, Justice.
The petition for the writ of certiorari is denied.
In denying the petition for the writ of certiorari, this Court does not wish to be understood as approving all the language, reasons, or statements of law in the Court of Civil Appeals' opinion. Horsley v. Horsley, 291 Ala. 782, 280 So.2d 155 (1973).
WRIT DENIED.
COBB, C.J., and LYONS, WOODALL, STUART, SMITH, PARKER, MURDOCK, and SHAW, JJ., concur.
